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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 FORT SMITH DIVISION

 UNITED STATES of AMERICA                                                           PLAINTIFF


        v.                           CV NO. 2:12-CR-20043-016


 SANDRA PAYNE                                                                      DEFENDANT

                            O R D E R of CONDITIONAL RELEASE

        Before the Court is the Defendant's Motion for Conditional Release from Custody (ECF

 No. 100) filed September 7, 2012. The court conducted a hearing on September 14, 2012 and

 finds that the Motion should be GRANTED as follows:

        The Defendant is hereby authorized to be released from the custody of the Sebastian

 County Detention Center to GATEWAY HOUSE, 3900 Armour St., Fort Smith, Arkansas on

 September 17, 2012 upon the following terms and conditions.

        The U.S. Marshal's Service will obtain custody of the Defendant on September 17, 2012

 and transport her to the Federal Court House in Fort Smith, Arkansas.

        On September 17, 2012 the U.S. Marshal is authorized to release custody of the

 Defendant to Elizabeth Jones who will transport the Defendant directly to GATEWAY HOUSE.

        The Defendant is authorized to remain in the care, custody and control of GATEWAY

 HOUSE for the completion of their 42 day Residential Treatment Program.

        The Defendant is ordered to complete the 42 day Residential Treatment Program at

 GATEWAY HOUSE and to comply with all of the rules and regulations of the program.

        Pretrial Services is authorized to monitor the progress of the Defendant while in

 GATEWAY HOUSE and the Defendant is ordered to complete all necessary release forms
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 required by GATEWAY to release information to Pre Trial Services and GATEWAY HOUSE is

 directed to supply information to Pre Trial Services concerning the status of the Defendant in

 their Residential Treatment Program.

        If at any time GATEWAY HOUSE terminates the treatment of the Defendant or the

 Defendant voluntarily leaves the program prior to completion of the program a warrant for the

 arrest of the Defendant shall be forthwith issued and the Defendant shall be returned to custody.

        At the conclusion of the 42 day Residential Treatment Program the Elizabeth Jones is

 directed to transport the Defendant to the U.S. Marshal, Federal Building, Fort Smith, Arkansas

 and she will be remanded back to the custody of the Marshal at that time. The court will then re-

 evaluate conditions of release for the Defendant.


        IT IS SO ORDERED this September 14, 2012.



                                              /s/ J. Marschewski
                                              HONORABLE JAMES R. MARSCHEWSKI
                                              Chief United States Magistrate Judge
